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                                                                  1    LAW OFFICES OF YAN E. SHRAYBERMAN
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                                                                       Facsimile:     (213) 352-1010
                                                                  4
                                                                       Attorney for Defendant
                                                                  5    MIGUEL MANZO

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                                                                                                       UNITED STATES DISTRICT COURT,
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                                                                                                       EASTERN DISTRICT OF CALIFORNIA
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                                                                       UNITED STATES OF AMERICA,                                Court Case#: 1:12-cr-00320-AWI-BAM
LAW OFFICES OF YAN E. SHRAYBERMAN




                                                                  12
                                                                                          Plaintiff,
                                                                  13                                                             STIPULATION AND ORDER ON
                                    Fresno, CALIFORNIA 91724
                                    2131 Kern Street, Suite 131

                                    Telephone: (213)379-2315
                                    Facsimile: (213) 352 -1010




                                                                       v.                                                           TEMPORARYMODIFICATION OF
                                                                  14                                                                CONDITIONS OF RELEASE
                                                                       MIGUEL MANZO.
                                                                  15
                                                                                          Defendant.
                                                                  16

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                                                                  18          Defendant MIGUEL MANZO, through his counsel, respectfully requests that he be

                                                                  19   allowed to temporary modify the conditions of his pre-trial release. Mr. MANZO wishes to

                                                                  20   travel overnight to Central District of California, to the City of Anaheim, for a birthday trip

                                                                  21   of his son’s 2nd birthday. He requests for a leave on March 21, 2014 , after work and to

                                                                  22   return on March 24th, 2014 at 11pm. While in the Central District he will reside with his
                                                                       grandmother and will check in with his pre-trial officer. On March 24th, 2014, he will return
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                                                                       to Fresno and will continue to be actively supervised by the Pre-Trial Services.
                                                                  24
                                                                              Previously, Mr. MANZO has been given leaves to travel and in both times he has
                                                                  25
                                                                       had no violations of his travel release modifications. Mr. MANZO wishes to spend the
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                                                                       birthday together with his son and his wife, as the sentencing date is rapidly approaching
                                                                  27
                                                                       and he may not be with his family for a very long time.
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                                                                                  Motion and [Proposed] Order On Modification of Pre-Trial Conditions                -1-
                                                                       Case 1:12-cr-00320-JLT-BAM Document 51 Filed 03/10/14 Page 2 of 2


                                                                  1           This counsel has spoken with the Government and there is no objection to this

                                                                  2    temporary change of the conditions of his pre-trial release.

                                                                  3           Date:3/7/14                                         /s/Yan E. Shrayberman

                                                                  4                                                               YAN E. SHRAYBERMAN

                                                                  5           Date:3/7/14                                         /s/ Miguel Manzo
                                                                                                                                  MIGUEL MANZO
                                                                  6
                                                                              Date:3/7/14                                         /s/Kimberly Sanchez
                                                                  7
                                                                                                                                  KIMBERLY SANCHEZ.
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                                                                              IT IS ORDERED, that conditions of MIGUEL MANZO’s pretrial release are hereby
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                                                                       modified to reflect that MIGUEL MANZO may travel to the Central District of California,
                                                                  11
                                                                       City of Anaheim on March 21, 2014 and to return to this District on March 24th, 2014 at
LAW OFFICES OF YAN E. SHRAYBERMAN




                                                                  12
                                                                       11:00pm, and to any other reasonable conditions that pre-trial officer deems necessary. He
                                                                  13
                                    Fresno, CALIFORNIA 91724
                                    2131 Kern Street, Suite 131

                                    Telephone: (213)379-2315
                                    Facsimile: (213) 352 -1010




                                                                       shall remain in contact with this pre-trial officer as provided in existing conditions.
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                                                                  15   IT IS SO ORDERED.

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                                                                          Dated:    March 10, 2014                            /s/ Barbara A. McAuliffe           _
                                                                  17                                                   UNITED STATES MAGISTRATE JUDGE

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